                                                                                                   Case 2:17-cv-02615-GMN-NJK Document 39 Filed 02/05/18 Page 1 of 4



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                                                                                                                                                       ROLLER CLUTCH TOOLS, LLC
                                                                                              15
                                                                                                                              IN THE UNITED STATES DISTRICT COURT
                                                                                              16
                                                                                                                                  FOR THE DISTRICT OF NEVADA
                                                                                              17

                                                                                              18   JS PRODUCTS, INC., a Nevada corporation,         Case No. 2:17-cv-02615-GMN-NJK
                                                                                              19                          Plaintiff,                 STIPULATION AND ORDER
                                                                                                                                                     DISMISSING CASE WITH PREJUDICE
                                                                                              20           v.
                                                                                              21   ROLLER CLUTCH TOOLS, LLC,
                                                                                                   a California limited liability company,
                                                                                              22
                                                                                                                          Defendant.
                                                                                              23

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                                                                                              26          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff JS Products, Inc.

                                                                                              27   (“JS Products”) and Defendant Roller Clutch Tools, LLC (“Roller Clutch”), by and through their

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                                                                                                   Case 2:17-cv-02615-GMN-NJK Document 39 Filed 02/05/18 Page 2 of 4



                                                                                               1   undersigned counsel, hereby agree and stipulate to dismiss this case with prejudice, with each

                                                                                               2   party to bear its own attorneys’ fees and costs.

                                                                                               3   Dated: February 1, 2018                      MCDONALD CARANO LLP
                                                                                               4
                                                                                                                                                /s/ Craig A. Newby
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                                                                                                                                                Attorneys for Plaintiff, JS Products, Inc.
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                                                                                               1   Dated: February 1, 2018                  BUETHER JOE & CARPENTER, LLC
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                                                                                              15                                            Attorneys for Defendant, Roller Clutch Tools, LLC

                                                                                              16                                     ORDER

                                                                                              17                     IT IS SO ORDERED.

                                                                                              18   DATED this ___
                                                                                                               5 day of February, 2018.      _____________________________________
                                                                                              19                                             Gloria M. Navarro, Chief Judge
                                                                                                                                             UNITED STATES DISTRICT COURT
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                                                                                               1                                    CERTIFICATE OF SERVICE
                                                                                               2             I HEREBY CERTIFY that I am an employee of McDonald Carano LLP, and that on
                                                                                               3
                                                                                                   February 1, 2018, I caused a true and correct copy of the foregoing STIPULATION AND
                                                                                               4
                                                                                                   ORDER DISMISSING CASE WITH PREJUDICE, to be served via the U.S. District Court’s
                                                                                               5
                                                                                                   Notice of Electronic Filing (“NEF”) in the above-captioned case to:
                                                                                               6

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                                                                                              22                                                          /s/ Elizabeth E. Helms
                                                                                                                                                          An Employee of McDonald Carano LLP
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